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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA

JEROME G ALEXANDER                                CIVIL ACTION NO.

v

RESOURCES FOR                                     JUDGE:
    HUMAN DEVELOPMENT                             Magistrate Judge:

                                 COMPLAINT

                            Jurisdiction and venue

1.   This action is brought under 42 USC sec 2000e. Venue in this district is
     proper because all acts complained of occurred in this district.

                               Right-to-sue-letter

2.   Plaintiff received a Right-to-sue letter dated September 15, 2010.

                                     Parties

3.   Plaintiff is a male and he alleges gender discrimination. He was hired on
     February 2, 2006 and discharged August 24, 2007. He was employed as an
     Assistant Director/Clinical Coordinator. He was the top ranked male and the
     only male manager. His salary was $38,000/yr. Defendant, Resources for
     Human Development (RHD) was his employer and employs more than 15. It
     operated a program called New Orleans Womanspace for which plaintiff
     worked.

              Conduct complained of-Discriminatory discharge

4.   He was hired by Donna Mitchell and fired at a meeting with her and Jan
     Tarantino, Program Manager. However, plaintiff and Mitchell developed
     professional differences. Shortly before he was terminated, plaintiff was told
     by Lorenza Mealancon that Mitchell wanted to make the site a womanspace,
     the implication being no more male managers. She made other remarks to Ms
     Mealancon that also indicated gender animus.
